           2:06-cr-20020-SEM-KLM          # 107      Filed: 09/16/08      Page 1 of 4
                                                                                                   E-FILED
                                                           Tuesday, 16 September, 2008 02:06:55 PM
                                                                       Clerk, U.S. District Court, ILCD

                       UNITED STATES DISTRICT COURT
                        CENTRAL DISTRICT OF ILLINOIS
                              URBANA DIVISION
______________________________________________________________________________
UNITED STATES OF AMERICA,                 )
                                          )
                  Plaintiff,              )
      v.                                  )     Case No. 06-CR-20020
                                          )
CARL DICKERSON,                           )
                                          )
                  Defendant.              )

                                           OPINION

       Defendant, Carl Dickerson, pled guilty to a cocaine base (hereinafter “crack”) offense in

2007 and now petitions this court to reduce his sentence under 18 U.S.C. § 3582(c)(2) and to also

appoint him counsel. For the reasons that follow, Defendant’s Motions for Retroactive

Application of Sentencing Guidelines to Crack Cocaine Offense (#89) and Appointment of

Counsel (#93) are DENIED.

                                     BACKGROUND

       Defendant was indicted on February 22, 2007, on one count of conspiracy to distribute

and possess five kilograms of cocaine and fifty grams or more of cocaine base (crack) in

violation of 21 U.S.C. §§ 841(a)(1) and (b)(1)(A). On July 9, 2007, Defendant pled guilty to the

charge in the indictment. Defendant was sentenced to 240 months in prison, the statutory

mandatory minimum sentence, on January 15, 2008.

       On July 16, 2008, Defendant filed his Pro Se Motion for Retroactive Application of

Sentencing Guidelines to Crack Cocaine Offense (#89). In his Motion, Defendant simply asked

if he was eligible for the crack sentence reduction. That same day this court appointed the

Federal Defender’s office to represent Defendant in his Motion. On July 21, 2008, Defendant’s

attorney, First Assistant Defender Jonathan E. Hawley, filed a Motion to Withdraw as Counsel

(#90), stating that upon his thorough review, Defendant was ineligible for a sentence reduction
           2:06-cr-20020-SEM-KLM           # 107     Filed: 09/16/08       Page 2 of 4




because Defendant was sentenced to the statutory mandatory minimum sentence and the court

cannot impose a sentence lower than the one originally imposed, regardless of the amendment to

the crack cocaine guideline. On July 29, 2008, Defendant filed a Pro Se Motion to Appoint

Counsel (#93), arguing that he was “illiterate” to federal law. This court granted First Assistant

Defender Hawley’s Motion to Withdraw (#90) and in an Order (#94) dated August 1, 2008,

ordered Defendant to either concede that the guidelines amendment does not apply because he

was sentenced to the statutory mandatory minimum, or to explain why the amendment applies in

spite of the statutory mandatory minimum.

       On August 13, 2008, Defendant filed his Response to Order: Re Crack Cocaine

Amendment (#97). In his Response, Defendant argued that he provided substantial assistance to

law enforcement officers in other investigations and to the government by testifying on their

behalf during the trial of Ronnie Blount. He also claimed that he is not the same man he was

when indicted and wants to raise his children as well as be a productive member of society.

Finally, Defendant argued that he should have received a lesser sentence if his drug amount was

all powder cocaine and his substantial assistance to law enforcement was taken into account.

                                      ANALYSIS

       According to the Pre-Sentence Investigation Report (#65) and Statement of Reasons for

Imposing Sentence (#69) Defendant was facing a statutory minimum sentence of 240 months in

prison and maximum sentence of life in prison for the crime charged as Defendant had a prior

felony drug conviction. 21 U.S.C. 841(b)(1)(A). The court noted that it was imposing the

mandatory minimum sentence.

       Section 3852(c)(2) states:

               “[I]n the case of a defendant who has been sentenced to a term of

       imprisonment that has subsequently been lowered by the Sentencing Commission


                                                 2
           2:06-cr-20020-SEM-KLM           # 107      Filed: 09/16/08      Page 3 of 4




       pursuant to 28 U.S.C. § 994(o), upon motion of the defendant or the Director of

       the Bureau of Prisons, or on its own motion, the court may reduce the term of

       imprisonment, after considering the factors set forth in section 3553(a) to the

       extent that they are applicable, if such a reduction is consistent with applicable

       policy statements issued by the Sentencing Commission.” 28 U.S.C. §

       3582(c)(2).

       Comment n. 1(A) to Sentencing Guideline § 1B1.10 states:

              “Eligibility for consideration under 18 U.S.C. § 3582(c)(2) is triggered

       only by an amendment listed in subsection (c) that lowers an applicable guideline

       range. Accordingly, a reduction in the defendant’s term of imprisonment is not

       authorized under 18 U.S.C. § 3582(c)(2) and is not consistent with this policy

       statement if: (I) none of the amendments listed in subsection (c) is applicable to

       the defendant; or (ii) an amendment listed in subsection (c) is applicable to the

       defendant but the amendment does not have the effect of lowering the defendant’s

       applicable guideline range because of the operation of another guideline or

       statutory provision (e.g., a statutory mandatory minimum term of imprisonment).”

        U.S.S.G. § 1B1.10, comment n. 1(A).

       Under the language of the above note, Defendant is not entitled to a sentence reduction.

He was sentenced under a statutory mandatory minimum penalty for the amount of drugs

involved and his prior felony drug conviction. The guidelines expressly state that he cannot

receive the reduction. This court ordered Defendant to show why, in spite of that language, he

should receive a reduction under § 3582(c)(2). Defendant, in his Response, could not show why

he should receive a reduction. Instead, Defendant made arguments concerning his previous

attorneys’ performances and his efforts at self reform. Accordingly, as Defendant was sentenced


                                                 3
           2:06-cr-20020-SEM-KLM           # 107     Filed: 09/16/08      Page 4 of 4




to a statutory mandatory minimum sentence, he is not entitled to a sentence reduction and his

Motion (#89) must be denied.

        Further, Defendant’s Pro Se Motion for Appointment of Counsel (#93) must also be

DENIED. Defendant already had counsel previously appointed on this Motion (#89) by this

court. That counsel asked and was granted withdrawal once it became apparent to counsel that

Defendant’s motion seeking to reduce his sentence had no merit. Therefore, Defendant is not

entitled to yet another appointment of counsel on the same matter.

        IT IS THEREFORE ORDERED THAT:

        (1) Defendant’s Pro Se Motion for Appointment of Counsel (#93) is DENIED.

        (2) Defendant’s Motion for Retroactive Application of Sentencing Guidelines to Crack

Cocaine Offense (#89) is DENIED.

        (3) Defendant has 10 days from the date of this court’s order to file a Notice of Appeal

with the clerk of this court.

                            ENTERED this 16th day of September, 2008

                                   s/ Michael P. McCuskey
                                  MICHAEL P. McCUSKEY
                                 CHIEF U.S. DISTRICT JUDGE




                                                 4
